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                               UNITED STATES DISTRICT COURT
                            DISTRICT OF UTAH, CENTRAL DIVISION



DARRELL L. DEEM, et. al.,                                      MEMORANDUM DECISION
                         Plaintiffs,

v.                                                                    2:15-CV-00755-DS
TRACEY BARON, et. al.,                                             District Judge David Sam
                         Defendants.




       Defendant RenX Group, LLC, moved the Court pursuant to Fed. R. Civ. P. 59(e) to alter

or amend the judgment to remove awards related to properties in Illinois that are outside the

scope of the issues tried in this case. ECF 350. Plaintiffs’ case at trial related to properties in

Oregon; however, the final judgment inadvertently included awards related to properties in

Illinois of $6,216.00 each in favor of the Roth IRAs of Plaintiffs Janine W. Law and Darrell L.

Deem and against RenX Group, LLC.


       Plaintiffs argue that Defendants did not object to evidence on record pertaining to the

Illinois property, and that such evidence was admitted and is on record. They also argue that

Defendants have not cited to any stipulation by Plaintiffs in the transcript or otherwise indicating

that Plaintiffs agreed to exclude the Illinois property.


       Plaintiffs’ suit did originally include claims relating to properties in Illinois. When

Plaintiffs, before trial, presented exhibits including the Illinois properties to Defendants and

requested a stipulation to admit them, Defendants responded: “Our substantive position is that

the Illinois transactions are outside the scope of the deal with your clients, but I understand there
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is a dispute about this and I don’t see it as going to the admissibility of the documents.” ECF

361, Ex. A. Later, Plaintiffs’ counsel advised Defendants’ counsel by telephone that Plaintiffs

would be dropping the Illinois properties from their trial claims. Defendants’ counsel

communicated the same day to his clients: “Plaintiffs are dropping the Illinois properties out of

their claims.” ECF 361, Ex. B.


       The court in its findings and conclusions noted that the business and properties were

centered in Portland, Oregon. ECF 306, p. 3, ¶3. The testimony was directed that way; there

was no testimony about damages for these Plaintiffs related to properties in Illinois. The Illinois

property contracts remained of record, but they were not invoked or argued. The court entered

its judgment based on the testimony and related evidence focused on the Oregon properties and

underlying transactions. The award of damages based on an Illinois property was an inadvertent

oversight.


       Based on the above and for good cause appearing, the court hereby grants Defendants’

motion (ECF 350) and amends the judgment in this case to remove the awards of $6,216.00 each

to the Roth IRAs of Janine W. Law and Darrell L. Deem entered against RenX Group, LLC.


SO ORDERED.


DATED this      17th    day of July, 2020.


                                              BY THE COURT:




                                              DAVID SAM
                                              United States District Judge
